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                   Exhibit A
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1

2
                                 UNITED STATES DISTRICT COURT
3                              NORTHERN DISTRICT OF CALIFORNIA
                                      OAKLAND DIVISION
4
     EPIC GAMES, INC.,                                    Case No. 4:20-CV-05640-YGR
5
                           Plaintiff,
6
            v.                                            DECLARATION OF AUTHENTICITY OF
7                                                         DOMESTIC BUSINESS RECORDS
     APPLE INC.,                                          PURSUANT TO FEDERAL RULE OF
8                                                         EVIDENCE 902(11), 902(13) & 902(14)
                           Defendant.
9

10
     I, John Ohle, declare under penalty of perjury as follows:
11

12          1.      I am employed by Spotify, and my official title is Senior Product Manager - Legal

13      and Internal Audit Systems.

14          2.      I am familiar with Spotify’s record-keeping system, including its electronic record-
15      keeping system. My team and I have experience in the preservation and retrieval of electronic
16
        data from Spotify’s computer systems.
17
            3.      I am informed by Spotify counsel that Spotify received a subpoena from Apple Inc.
18
        for documents in the above captioned action on December 8, 2020, (the “Subpoena”).
19

20          4.      I am further informed that Spotify responded to the Subpoena by producing, inter

21      alia, the following record and data on February 24, 2021:

22               a. Spreadsheet, file name "MAU 2015-2020 by platform_os.xlsx", bates labeled
                    SPOT-EPIC-00001448.
23

24          5.      A data analyst on my team was personally involved in preparing the above

25      spreadsheet, which consists of data extracted from an active, internal-use database. The

26      database contains business critical data generated by company employees for the purpose of
27    DECLARATION OF AUTHENTICITY OF                  -1-                (Case No. 4:20-cv-05640-YGR)
      DOMESTIC BUSINESS RECORDS
28    PURSUANT TO FEDERAL RULE OF
      EVIDENCE 902(11), 902(13) & 902(14)
       Case 4:20-cv-05640-YGR Document 703-2 Filed 05/18/21 Page 3 of 4



1      tracking monthly active users (MAU). The database and the underlying data are kept in the
2      course of Spotify’s regularly conducted business activities, and recording the underlying data in
3
       the database is a regular practice of Spotify’s business activities.
4
          6.      A data analyst on my team extracted the data presented in SPOT-EPIC-00001448 at
5
       my direction by querying the database for MAU (a 30-day rolling figure) at the first day of each
6

7      month for the time period February 2015 through December 2020. The data was further

8      aggregated by platform (“platform_type”) and operating system (“platform_os”) and reflected

9      the MAU figure maintained at the time of extraction. As described above, SPOT-EPIC-
10
       00001448 was generated by an electronic process using SQL and the above-described process
11
       for generating SPOT-EPIC-00001448 produced an accurate result. In other words, SPOT-
12
       EPIC-00001448 accurately reflects data maintained in the database and extracted per the query
13
       run by a data analyst on my team.
14

15        7.      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of

16     the United States of America that the foregoing is true and correct and that I executed this
17     declaration on May 12, 2021, in New York, New York.
18                                                        John Ohle
                                                          ___________________________________
                                                          John Ohle (May 12, 2021 10:19 EDT)

19
                                                                                   John Ohle
20

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26

27   DECLARATION OF AUTHENTICITY OF                   -2-                          (Case No. 4:20-cv-05640-YGR)
     DOMESTIC BUSINESS RECORDS
28   PURSUANT TO FEDERAL RULE OF
     EVIDENCE 902(11), 902(13) & 902(14)
               Case 4:20-cv-05640-YGR Document 703-2 Filed 05/18/21 Page 4 of 4


Spotify Business Record Authentication
Declaration
Final Audit Report                                                                                2021-05-12

  Created:              2021-05-12

  By:                   Alison Holzheimer (alisonh@spotify.com)

  Status:               Signed

  Transaction ID:       CBJCHBCAABAAysRWtz4NvclO-NvfM-sNBTGhUWJrpBib




"Spotify Business Record Authentication Declaration" History
    Document created by Alison Holzheimer (alisonh@spotify.com)
    2021-05-12 - 1:57:34 PM GMT- IP address: 74.105.71.6


    Document emailed to John Ohle (johle@spotify.com) for signature
    2021-05-12 - 1:58:07 PM GMT


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    Document e-signed by John Ohle (johle@spotify.com)
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